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In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, APRIL 20, 2010                               Reported by:

CALEB CHASE HOLLOWAY                                                   May 19, 2011          DONNA WRIGHT, CSR

                                                                                                                  Page 1
                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                                )         MDL NO. 2179
            BY THE OIL RIG,                                 )
            DEEPWATER HORIZON IN                            )         SECTION "J"
            THE GULF OF MEXICO,                             )
            APRIL 20, 2010                                  )         JUDGE BARBIER
                                                            )
                                                            )         MAG. JUDGE
                                                            )         SHUSHAN




                                            **************
                                               VOLUME 1
                                            **************




                              DEPOSITION OF CALEB CHASE HOLLOWAY,

            TAKEN AT 14130 HARGRAVE ROAD, HOUSTON,

            TEXAS,ON MAY 19, 2011.




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 12                                                                                        12



 15
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 19                                                                                        19   Q. (BY MR. HAYCRAFT) WERE YOU
 20                                                                                        20 PROUD TO WORK ON THE DEEPWATER HORIZON?
                                                                                           21   A. YES, SIR.




                                                                                                             33 (Pages 126 to 129)
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                                                                                           21   Q. YOU WERE ASKED BY MR. KRAUS --
                                                                                           22   MR. KINCHEN: DID I PRONOUNCE THAT
                                                                                           23 CORRECTLY?
                                                                                           24   Q. (BY MR. KINCHEN) -- ABOUT
                                                                                           25 SAFETY HAZARDS. AND I BELIEVE YOU INDICATED

                                                                                                              36 (Pages 138 to 141)
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                                                                        Page 142                                                 Page 144
  1    THAT FROM THE FIRST DAY YOU WERE ON THE RIG   1                                     DEEPWATER HORIZON THAT ENDANGERED THE LIFE OF
  2    UNTIL APRIL THE 20TH, YOU DID NOT SEE         2                                     THE CREW ON THE DEEPWATER HORIZON?
  3    ANYTHING THAT PRESENTED A SAFETY HAZARD. IS 3                                           MR. HAYCRAFT: OBJECT TO FORM.
  4    THAT WHAT YOU STATED?                         4                                              JUST FOR CLARITY'S SAKE, WE'VE
  5       A. TO ME, YEAH, I NEVER SAW                5                                     ALL BEEN OPERATING UNDER THE ASSUMPTION THAT
  6    ANYTHING HAZARDOUS TO ME.                     6                                     WE'RE TALKING ABOUT UP UNTIL 11:30 ON APRIL
  7       Q. WAS SAFETY A PRIORITY FOR YOU           7                                     THE 20TH. I WOULD WITHDRAW MY OBJECTION
  8    ONBOARD THE DEEPWATER HORIZON?                8                                     IF -- IF THE WITNESS UNDERSTOOD THAT'S WHAT
  9       A. YES.                                    9                                     YOU WERE TALKING ABOUT.
 10       Q. DID TRANSOCEAN STRESS TO YOU THE       10                                         Q. (BY MR. KINCHEN) AND
 11    IMPORTANCE OF SAFETY IN YOUR ACTIVITIES AS   11                                     MR. HAYCRAFT BRINGS UP A VERY GOOD POINT.
 12    BOTH A FLOOR HAND AND A ROUSTABOUT?          12                                     ALL MY -- I UNDERSTOOD YOUR -- THE POINT THAT
 13       MR. HOLLEY: OBJECT TO FORM.               13                                     YOUR ATTORNEY MADE AT THE BEGINNING, AND SO
 14       A. YES, SIR.                              14                                     ALL OF MY QUESTIONS -- AND I SHOULD HAVE MADE
 15       Q. (BY MR. KINCHEN) YOU INDICATED         15                                     THIS CLEAR EARLIER -- RELATE TO THE TIME
 16    THAT YOUR BOSS WAS DEWEY REVETTE. HE WAS A 16                                       PERIOD UP TO 11:30 ON APRIL THE 20TH. AND I
 17    DRILLER?                                     17                                     DON'T WANT TO SPEAK TO ANY EVENTS AFTER THAT
 18       A. YES, SIR.                              18                                     UNLESS I ASK YOU A SPECIFIC QUESTION ABOUT
 19       Q. WAS HE A FRIEND OF YOURS?              19                                     POST -- AFTER THE EXPLOSION. DO YOU
 20       A. VERY GOOD FRIEND OF MINE.              20                                     UNDERSTAND?
 21       Q. DID YOU WORK WITH HIM SINCE THE        21                                         A. YES, SIR.
 22    FIRST DAY YOU WERE ONBOARD THE DEEPWATER     22                                         MR. KINCHEN: OKAY. THANK YOU FOR
 23    HORIZON?                                     23                                     THAT.
 24       A. I DIDN'T WORK DIRECTLY WITH HIM.       24                                         MR. HAYCRAFT: I'LL WITHDRAW MY
 25    I WORKED WITH -- AS A ROUSTABOUT UNTIL I GOT 25                                     OBJECTION.

                                                                        Page 143                                                 Page 145
  1    THE FLOOR HAND SPOT. AND WHEN I GOT THE        1                                       Q. (BY MR. KINCHEN) JASON
  2    FLOOR HAND SPOT THEN I WAS ON HIS CREW FOR -- 2                                     ANDERSON, YOU WORKED UNDER HIM ON THE
  3    FOR THE REMAINDER OF THE TIME WE WERE OUT      3                                    DEEPWATER HORIZON, TOO, CORRECT?
  4    THERE.                                         4                                       A. YES, SIR.
  5        Q. HE WAS A HARD WORKER?                   5                                       Q. HE WAS A TOOL PUSHER?
  6        A. YES, SIR.                               6                                       A. YES, SIR.
  7        Q. YOUR LAST HITCH DID YOU WORK            7                                       Q. FRIEND OF YOURS?
  8    WITH HIM EVERY DAY?                            8                                       A. YES, SIR.
  9        A. YES, SIR.                               9                                       Q. HARD WORKER?
 10        Q. DID YOU CONSIDER HIM TO BE             10                                       A. YES, SIR.
 11    SAFETY CONSCIOUS?                             11                                       Q. DID YOU CONSIDER MR. ANDERSON TO
 12        A. YES.                                   12                                    BE SAFETY CONSCIOUS?
 13        Q. DID SAFETY -- DID YOU CONSIDER         13                                       A. YES, SIR.
 14    SAFETY TO BE A PRIORITY FOR HIM?              14                                       Q. WAS SAFETY -- DID YOU CONSIDER
 15        MR. HOLLEY: OBJECT TO FORM.               15                                    SAFETY TO BE IMPORTANT FOR MR. ANDERSON?
 16        A. WHAT WAS YOUR QUESTION?                16                                       A. YES, SIR.
 17        Q. (BY MR. KINCHEN) I ASKED YOU IF        17                                       Q. WERE YOU AWARE OF ANYTHING THAT
 18    YOU CONSIDERED SAFETY TO BE A PRIORITY FOR    18                                    MR. ANDERSON EVER DID ON THE DEEPWATER
 19    YOU, AND YOU INDICATED IT WAS. MY QUESTION    19                                    HORIZON THAT ENDANGERED THE LIFE OF ITS CREW?
 20    IS DID YOU CONSIDER SAFETY TO BE A PRIORITY   20                                       A. NO, SIR.
 21    TO -- FOR MR. REVETTE?                        21                                       Q. I RECOGNIZE THAT SOME OF THESE
 22        A. YES, SIR.                              22                                    QUESTIONS ARE DIFFICULT BECAUSE OF THE PEOPLE
 23        MR. HOLLEY: SAME OBJECTION.               23                                    I'M ASKING ABOUT, BUT I THINK THEY'RE
 24        Q. (BY MR. KINCHEN) WERE YOU AWARE        24                                    IMPORTANT QUESTIONS. IF AT ANY TIME YOU WANT
 25    OF ANYTHING THAT MR. REVETTE EVER DID ON THE 25                                     TO TAKE A BREAK, THAT'S FINE.

                                                                                                          37 (Pages 142 to 145)
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                                                                        Page 146                                                 Page 148
  1           STEPHEN CURTIS, IN THE HIERARCHY      1                                         A. YES, SIR.
  2     ON BOARD THE RIG, STEPHEN CURTIS WAS ABOVE 2                                          Q. WAS SAFETY A PRIORITY FOR HIM?
  3     YOU?                                        3                                         A. YES, SIR.
  4        A. YES, SIR.                             4                                         Q. WAS HE A DETAIL-ORIENTED GUY?
  5        Q. HE WAS ASSISTANT DRILLER?             5                                         A. YES, SIR.
  6        A. YES, SIR.                             6                                         Q. DID HE HAVE AN OPEN-DOOR POLICY?
  7        Q. OKAY. WAS HE A FRIEND OF YOURS?       7                                         A. YES, SIR.
  8        A. YES, SIR.                             8                                         Q. YOU FELT COMFORTABLE TALKING TO
  9        Q. DID YOU WORK WITH HIM EVERY DAY       9                                      HIM?
 10     ON THAT LAST DITCH?                        10                                         A. YES, SIR.
 11        A. I DID.                               11                                         Q. RANDY EZELL WAS THE SENIOR TOOL
 12        Q. DID YOU CONSIDER HIM TO BE           12                                      PUSHER ON THE LAST DAY, CORRECT?
 13     SAFETY CONSCIOUS?                          13                                         A. YES, SIR.
 14        A. YES, SIR.                            14                                         Q. HOW LONG DID YOU WORK WITH
 15        Q. DID YOU CONSIDER SAFETY TO BE A      15                                      MR. EZELL?
 16     PRIORITY FOR HIM?                          16                                         A. THE SAME -- THE SAME STATUS AS
 17        A. YES, SIR.                            17                                      MR. HARRELL. I DIDN'T WORK DIRECTLY WITH HIM
 18        Q. AND WERE YOU AWARE OF ANYTHING       18                                      BECAUSE WE WERE ON DIFFERENT SCHEDULES, BUT
 19     THAT HE EVER DID ON THE DEEPWATER HORIZON 19                                       THE WHOLE TIME I WAS ON THE HORIZON FROM DAY
 20     THAT ENDANGERED THE LIFE OF THE CREW?      20                                      ONE I MET HIM AND KNEW HIM UP UNTIL THE 20TH.
 21        A. NO, SIR.                             21                                         Q. DID YOU CONSIDER HIM TO BE
 22        Q. DON CLARK IS ANOTHER ASSISTANT       22                                      SAFETY CONSCIOUS SUCH AS YOURSELF?
 23     DRILLER ABOVE YOU, CORRECT?                23                                         A. YES, SIR.
 24        A. YES, SIR.                            24                                         Q. WERE YOU AWARE OF ANYTHING THAT
 25        Q. FRIEND OF YOURS?                     25                                      HE EVER DID ON THE DEEPWATER HORIZON THAT
                                                                        Page 147                                                 Page 149
  1       A. YES, SIR.                                1                                    ENDANGERED THE LIFE OF THE CREW?
  2       Q. HARD WORKER?                             2                                       A. NO, SIR.
  3       A. YES, SIR.                                3                                       Q. IN YOUR DUTIES AS FLOOR HAND --
  4       Q. DID YOU CONSIDER HIM TO BE               4                                    I KNOW YOU'VE COVERED THEM GENERALLY WHEN
  5    SAFETY CONSCIOUS?                              5                                    MR. HAYCRAFT AND MR. WILLIAMSON WERE ASKING
  6       A. YES, SIR.                                6                                    YOU SOME QUESTIONS. DID I GATHER THAT TO
  7       Q. DID YOU CONSIDER SAFETY TO BE A          7                                    SOME EXTENT IT INVOLVED MAINTENANCE OF
  8    PRIORITY FOR HIM?                              8                                    CERTAIN EQUIPMENT?
  9       A. YES, SIR.                                9                                       A. YES, SIR.
 10       Q. WERE YOU AWARE OF ANYTHING THAT         10                                       Q. OKAY. AND YOU TOOK THAT PART OF
 11    HE EVER DID ON THE DEEPWATER HORIZON THAT     11                                    YOUR JOB SERIOUSLY, RIGHT?
 12    ENDANGERED THE LIFE OF ITS CREW?              12                                       A. YES, SIR.
 13       A. NO, SIR.                                13                                       Q. DO YOU BELIEVE THAT OTHERS --
 14       Q. JIMMY HARRELL WAS THE OIM WHILE         14                                    YOUR OTHER CREW MEMBERS TOOK MAINTENANCE OF
 15    YOU WERE ON THE LAST HITCH?                   15                                    RIG EQUIPMENT SERIOUSLY?
 16       A. YES, SIR.                               16                                       A. YES, SIR.
 17       Q. HOW LONG DID YOU WORK WITH              17                                       Q. DID YOU EVER SEE ANYTHING DURING
 18    JIMMY?                                        18                                    THE ENTIRE TIME YOU WERE ON THE DEEPWATER
 19       A. THE WHOLE -- THE WHOLE TIME I           19                                    HORIZON THAT SUGGESTED TO YOU THAT CREW
 20    WAS ON THE DEEPWATER HORIZON HE WAS OIM. I    20                                    MEMBERS WERE NOT TAKING MAINTENANCE OF THE
 21    WORKED SOME WITH HIM AND SOME WITH THE OTHER 21                                     EQUIPMENT SERIOUSLY?
 22    OIM BECAUSE WE WEREN'T ON THE SAME SCHEDULE. 22                                        A. NO, SIR.
 23       Q. DO YOU BELIEVE HIM TO BE                23                                       Q. A SIMILAR QUESTION TO WHAT
 24    COMPETENT IN CARRYING OUT THE DUTIES THAT YOU 24                                    MR. KRAUS ASKED, BUT A LITTLE DIFFERENT
 25    OBSERVED HIM CARRYING OUT AS OIM?             25                                    PERSPECTIVE. AS OF APRIL THE 20TH -- NOT

                                                                                                          38 (Pages 146 to 149)
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                                                                        Page 150                                                Page 152
  1    DURING THE PERIOD AFTER 11:30 ON APRIL THE    1                                        A. I WAS REWARDED A WATCH BY
  2    20TH, BUT JUST AS OF APRIL THE 20TH -- WERE   2                                     MR. HARRELL.
  3    YOU AWARE OF ANY CONDITIONS ONBOARD THE       3                                        Q. A SILVER WATCH?
  4    DEEPWATER HORIZON THAT YOU WOULD CONSIDER A 4                                          A. YES, SIR.
  5    SAFETY CRITICAL PROBLEM?                      5                                        Q. YOU WERE ASKED ABOUT PRE-TOWER
  6       A. CAN YOU TELL ME THE QUESTION            6                                     MEETINGS, AND I BELIEVE YOU INDICATED THOSE
  7    AGAIN?                                        7                                     WERE DAILY FOR YOU?
  8       Q. SURE. I PROBABLY COULD HAVE             8                                        A. YES, SIR.
  9    ASKED IT --                                   9                                        Q. ONE PER DAY FOR YOU?
 10           WERE YOU AWARE AS OF APRIL THE        10                                        A. YES, SIR.
 11    20TH, 2010, BEFORE 11:30 A.M., OF ANY UNSAFE 11                                        Q. WAS SAFETY DISCUSSED DURING
 12    CONDITIONS ONBOARD THE DEEPWATER HORIZON?    12                                     THOSE MEETINGS?
 13       A. NO, SIR. NOTHING UNSAFE WE             13                                        A. YES, SIR.
 14    HADN'T DEALT WITH BEFORE.                    14                                        Q. ONE OF THE FIRST THINGS
 15       Q. AND IF YOU EVER SAW ANYTHING           15                                     DISCUSSED?
 16    THAT WAS UNSAFE ONBOARD THE DEEPWATER        16                                        A. YES, SIR.
 17    HORIZON, YOU WOULD SAY SOMETHING ABOUT IT,   17                                        Q. WAS IT A BIG TOPIC OF THOSE
 18    CORRECT?                                     18                                     MEETINGS?
 19       A. YES, SIR.                              19                                        A. YES, SIR.
 20       Q. AND THAT WAS THE TIME-OUT FOR          20                                        Q. WITH THAT -- I DON'T KNOW
 21    SAFETY THAT SOMEBODY ASKED YOU ABOUT. HAD    21                                     SPECIFICALLY WHAT WAS BEING REFERENCED, BUT I
 22    YOU EVER ACTUALLY CALLED A TIME-OUT FOR      22                                     THINK YOU MENTIONED AT SOME POINT WEEKLY
 23    SAFETY?                                      23                                     MEETINGS. WHAT WERE THE WEEKLY MEETINGS THAT
 24       A. YES, SIR.                              24                                     YOU MENTIONED EARLIER IN YOUR TESTIMONY?
 25       Q. DID YOU FEEL COMFORTABLE DOING         25                                        A. WEEKLY MEETINGS WERE -- WERE --
                                                                        Page 151                                                Page 153
  1    THAT?                                          1                                    WAS THE DRILL CREW -- OUR DRILL CREW WOULD
  2       A. YES, SIR.                                2                                    GET TOGETHER ONCE A WEEK AND WE WOULD SIT
  3       Q. DID YOUR SUPERVISOR SUPPORT YOU          3                                    AROUND IN THE CONFERENCE ROOM. AND
  4    WHENEVER YOU DID THAT?                         4                                    MR. REVETTE WOULD -- HE WOULD TELL US, YOU
  5       A. YES, SIR.                                5                                    KNOW, WHAT WOULD -- WHAT TO EXPECT FOR THE
  6       Q. JIMMY HARRELL SUPPORTED YOU IN           6                                    NEXT WEEK.
  7    DOING THAT?                                    7                                           AND THEN WE WOULD GO AROUND THE
  8       A. YES, SIR.                                8                                    TABLE AND EVERYBODY WOULD PITCH IN A LITTLE
  9       Q. ARE YOU AWARE OF ANYONE, ANY             9                                    SOMETHING ABOUT MAYBE WE NEED TO IMPROVE ON
 10    TRANSOCEAN EMPLOYEE, EVER GETTING REPRIMANDED 10                                    THIS, OR EVERYBODY'S DOING A GREAT JOB. JUST
 11    OR FIRED FOR CALLING A TIME-OUT FOR SAFETY?   11                                    BASICALLY A WEEKLY SAFETY MEETING FOR THE
 12       A. NOT THAT I'M AWARE OF.                  12                                    DRILL CREW. NOT INVOLVING EVERYBODY, JUST
 13       Q. YOU YOURSELF -- CORRECT ME IF           13                                    THE DRILL CREW.
 14    I'M WRONG, BUT YOU YOURSELF ONCE SPOTTED A    14                                       Q. YOU ANSWERED MY NEXT QUESTION IN
 15    WORN BOLT ON THE DERRICK, CORRECT?            15                                    THAT SENTENCE. YOU CALLED IT A SAFETY
 16       A. YES, SIR.                               16                                    MEETING. MY QUESTION WAS, WAS SAFETY
 17       Q. OKAY. YOU POINTED IT OUT?               17                                    DISCUSSED DURING THOSE MEETINGS?
 18       A. YES, SIR.                               18                                       A. YES.
 19       Q. WAS IT FIXED?                           19                                       Q. IT WAS THE PRIMARY TOPIC
 20       A. I FIXED IT MYSELF.                      20                                    DISCUSSED?
 21       Q. YOU FIXED IT YOURSELF. DID YOU          21                                       A. YES, SIR.
 22    GET IN TROUBLE FOR POINTING THAT OUT?
 23       A. NO, SIR.
 24       Q. WHAT HAPPENED TO YOU AS A RESULT
 25    OF YOU POINTING OUT THE WORN BOLT?

                                                                                                          39 (Pages 150 to 153)
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 18          DO YOU BELIEVE YOU HAD THE
 19 NECESSARY TRAINING TO PERFORM YOUR DUTIES AS
 20 FLOOR HAND?
 21   A. YES, SIR.




                                                                        Page 155                                     Page 157



                                                                                           3
                                                                                           4



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                                                                                           12



 15      DID YOU EVER HEAR ANYONE
 16 COMPLAIN ABOUT NOT GETTING PROPER TRAINING                                             16
 17 FROM TRANSOCEAN ONBOARD THE DEEPWATER
 18 HORIZON?
 19   A. NOT THAT I'M AWARE OF.
 20                                                                                        20




                                                                                           24



                                                                                                40 (Pages 154 to 157)
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                               WITNESS CERTIFICATE



                I,     CALEB CHASE HOLLOWAY, have read or

                have had the foregoing testimony read to me and

                hereby certify that                 it    is    a         true and correct

                tra nscri ption           of        my      testimony,              with   the

                exception            of      any         attached corrections               or

                changes.



         fe/14/11
       -""""'---------­
       (Date Signed)                                        (Signature)



      ___  ~         Signed with corrections as attached.

                     Signed with no corrections noted.



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